     Case 2:16-cr-00155-JCM-CWH             Document 200        Filed 07/10/18     Page 1 of 3




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     Federal Public Defender
 2   State Bar No. 11479
     SUNETHRA MURALIDHARA
 3   Assistant Federal Public Defender
     Nevada State Bar No. 13549
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 6   Sunethra_Muralidhara@fd.org

 7   Attorney for Joseph A. Strickland

 8
                                UNITED STATES DISTRICT COURT
 9
                                      DISTRICT OF NEVADA
10
11   UNITED STATES OF AMERICA,                             Case No. 2:16-cr-00155-JCM-CWH-3

12                 Plaintiff,                                STIPULATION TO CONTINUE
                                                               REVOCATION HEARING
13          v.
                                                                    (First Request)
14   JOSEPH A. STRICKLAND,

15                 Defendant.

16
17          IT IS HEREBY STIPULATED AND AGREED, by and between Dayle Elieson, United
18   States Attorney, and Daniel Cowhig, Assistant United States Attorney, counsel for the United
19   States of America, and Rene L. Valladares, Federal Public Defender, and Sunethra Muralidhara,
20   Assistant Federal Public Defender, counsel for Joseph A. Strickland, that the Revocation
21   Hearing currently scheduled on July 12, 2018 at 10:30 a.m., be vacated and continued to
22   July 25, 2018 or another day thereafter as convenient for the Court.
23          This Stipulation is entered into for the following reasons:
24          1.     Defense counsel requires additional time to prepare, investigate, and discuss the
25   case with Defendant.
26          2.     The defendant is not in custody and agrees with the need for the continuance.
     Case 2:16-cr-00155-JCM-CWH           Document 200         Filed 07/10/18      Page 2 of 3




 1        3.     The parties agree to the continuance.
 2        This is the first request for a continuance of the revocation hearing.
 3        DATED this 9th day of July, 2018.
 4
 5   RENE L. VALLADARES                             DAYLE ELIESON
     Federal Public Defender                        United States Attorney
 6
 7       /s/ Sunethra Muralidhara                       /s/ Daniel Cowhig
     By_____________________________                By_____________________________
 8   SUNETHRA MURALIDHARA                           DANIEL COWHIG
     Assistant Federal Public Defender              Assistant United States Attorney
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      Case 2:16-cr-00155-JCM-CWH           Document 200       Filed 07/10/18    Page 3 of 3




 1                               UNITED STATES DISTRICT COURT

 2                                    DISTRICT OF NEVADA

 3
     UNITED STATES OF AMERICA,                          Case No. 2:16-cr-00155-JCM-CWH-3
 4
                    Plaintiff,                          ORDER
 5
             v.
 6
     JOSEPH A. STRICKLAND,
 7
                    Defendant.
 8
 9          IT IS ORDERED that the revocation hearing currently scheduled for Thursday,

10 July 12, 2018 at 10:30 a.m., be vacated and continued to July 30, 2018 at 10:30 a.m.
11
12
13                    DATED this
                            July___
                                 10,day of July, 2018.
                                     2018.

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                                                 UNITED STATES DISTRICT JUDGE
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